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                          Exhibit 7
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    From:                               Tom Wallin <twallin@energyintel.com>
    Sent:                               Tuesday, May 31, 2005 5:08 PM
    To:                                 Lara Sidawi; 'Mark Wellman'; George King
    Subject:                            Plan
    Attachments:                        Profit improvement plan 2005.doc




   Attached please find the initial ideas for improving profits and rationalizing operations. I have tried to lay out all of the
   ideas we have discussed and also attach some specific numbers. This all requires some further refinement and I would
   welcome your comments or changes. rw




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            TO: Lara, George, Mark
            FM:Tom
            May 31, 2005

            Energy Intelligence Profitability Improvement Plan

            Goal

            Our goal isto achieve a 10% margin on gross revenues, which is about $950,000 per year. The
            time frame for reaching this level is the end of 2006. For end of 2005, we have established an
            intermediate goal of $475,000. This is a significant Improvement from the current break-even
            budget for 2005. In order to achieve this goal, we would look toward improvements in revenues
            from various new products and business activities. We would also implement a rationalization
            program to reduce costs without significantly hanning our product line, at least in the first tier of
            cuts. However, some impacts to quality and productivity will be felt. For a full picture, a second
            tier of cuts is also included that would take longer or would be much more damaging to our ability
            to grow. In total, the improvements in revenues and costs need lo exceed the targeted levels in
            order to be sure of success due to the weakness in our mature publications and the potential for
            unexpected additional costs.

            Revenue Sources

                   •   El Select
                       After numerous delays, we believe that El Select will be ready for final testing in June and
                       ready to be launched as a product in September. We will charge a base price of $1,700
                       per personalized newsletter. Assuming that we can obtain 50-100 base customers in the
                       first four months, we would project revenues of $85,000 to $170,000 in cash terms in
                       2005. In 2006, we would expect to add another 200-400 subscribers for additional
                       revenues of $340,000 to $680,000. These revenues need to be counterbalanced against
                       potential loss of regular subscriptions, which we do not think will be significant but has
                       been conservatively estimated at 25% of total revenue. This gives a low range estimate
                       of $64 ,000 in 2005 and $255,000 in 2006.

               •       Gas Metrics
                       Four of the 16 Gas Metrics reports are now available and we will be putting the remaining
                       ones up over the summer. I expect the whole set to be available by September, at which
                       time we will do a full scale launch to the wide world. We currently have four customers
                       (BP, Mirant, Conoco, Kaiser Francis) committed to take all reports and we have billed
                       them for the ones that are now up. The total revenues on these four will come to just over
                       $150,000 on a gross basis. On a very conservative outlook, we would expect to sell 15
                       full sets and a batch of individual reports in the rest of this year, giving gross revenues of
                       $650,000 for 2005, with that level doubling to $1,300,000 in 2006. Our share after
                       deducting royalty to Bentek own commission charges and other minimal costs would be
                       $225,000 in 2005 and $450,000 In 2006. This assumes that we can produce and
                       maintain these reports with little additional staff costs.

               •       DJ Joint Venture
                       The joint LNG newsletter with DJ is in an initial dummy stage and DJ is conducting some
                       further market research before making a final go ahead decision . Since this is not a firm
                       project it is not wise to assign any potential revenues to it. Furthermore, given start up
                       costs it will be at best breakeven in the first year. We are also contemplating a joint
                       conference with them that would bring a minimum of $10,000 in 2005 if it goes ahead.

               •       Copyright Enforcement
                       Two potential revenue streams exist here, one from legal settlements and one from
                       improved subscription revenues due to better compliance by subscribers. Mark estimates




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                        the first to yield an average $100,000 per action with a maximum of four actions per year.
                        The second could yield $400,000 annually but only in outer years. For 2005, with one
                        action already underway, we can project $100,000 but this could shift into 2006. For
                        2006, if we develop this into an aggressive area of our business we could conservatively
                        project $300,000.

                   •    EIR
                        We have already budgeted a further increase in revenues from EIR for this year, so it is
                        probably not wise to add to that. However, given the various potential opportunities, it is
                        possible that our projections will be exceeded without a significant increase in costs.

                   •    Shift Pricing From Single Subscription Model
                        This movement to a retainer-only system is a fairty radical change that has been made
                        successfully by Johns. Herold and could be one of the best ways of dealing with both
                        our copyright problem and our desire to be valued as high-end analysis rather than
                        increasingly commoditized news. There are major risks with such a change and
                        significant operational obstacles. But revenues could be expanded and erosion of
                        revenue through copyright abuse and cost cutting could be reduced . It is worth
                        considering at a future date but not something we can move ahead with now.

                   •    Other Sources
                       In our discussion of revenue options, we also considered a new approach to sales that
                       would more directly combine the sales of research with publications. However, given the
                       uncertainties about the sales group it is probably premature to assign any revenue there.
                       We also discussed selling PIW Yearbooks at the end of the year. One might
                       conservatively estimate $10,000 of revenue for this after costs.

            Revenue Summary

                        2005      2006
            El Select    $64 ,000  $255,000
            Gas Metrics $225 000   $450,000
            DJJV                0         0
            Convrioht   $100,000   $300,000
            EIR                 0         0
            Other        $10,000    $10,000
            Total       $399,000 $1,015,000


            Cost Savings

               •       DC Office
                       We have much more office space than we need in DC now. We currently have an offer
                       on the entire space that would allow us to move out at the end of 2005. This would not
                       save any money in 2005 and in 2006 the savings would largely be offset by the costs of
                       moving, broker's fees and so forth. After 2006 we could expect about $150,000 per year
                       in cost savings but that is a preliminary estimate that George needs to validate on further.
                       Due to the time delay this must be considered a second tier option.

               •       Moscow & Singapore Offices
                       One or both of these offices could be eliminated and the editorial staff could operate on a
                       stringer basis. The savings would be about $100,000 per year for each office but there
                       would be a substantial loss in our ability to expand our activities in these areas, which are
                       both sources of potential longer tenn growth. In view of this, closing these offices would
                       be a secondary alternative..



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              •   Editorial Staff
                  We have two sets of options for cost savings in the editorial staff, both of which some
                  loss of quality in our titles. One is to intentionally downgrade some of our staff to lower
                  cost, lower quality reporters over time. This is essentially what we did in DC by replacing
                  Karen Matusic at $90,000 with Matt Piotrowski at $45,000. This was because we could
                  not find someone stronger but we could do this more aggressively going forward. The
                  second step would be to consolidate our publications by perhaps selling JFI and
                  combining some titles such as EC-PIW and OD-IOD. This kind of consolidation would
                  only improve profits if it were combined with some aggressive staff cuts. Here to tor, we
                  have not wanted to take such radical steps with consolidation of our product line and I will
                  only include some of these options below as second tier moves. The first tier moves are
                  ones I think that we could take this year with a limited impact on our overall editorial
                  quality and strength.

                  First Tier

                  Mike Ritchie
                  Mike is an ineffectual bureau chief and only passable as editor for NC. His other benefits
                  are largely offset by his Devon-London schedule. One option would be to replace him
                  with an NC editor at a lower salary and make Jane, or someone else, the bureau chief.
                  However, as a UK employee with 15 years with the company the severance costs of this
                  move could be quite high, pushing any savings into 2006. Another alternative might be to
                  have him exclusively edit NC and work half time from Devon. This would result in annual
                  savings of about $50,000.

                  Ruba Husari
                  Ruba has indicated that she is likely to leave the company later this year. Replace her
                  with a lower level Arabic speaking journalist for annual savings of $25,000.

                  Neil Atkinson
                  Neil has not been a successful editor for EIR and he has indicated that he would not
                  accept a reduction in salary or responsibilities. He could be replaced with a combination
                  of two part-timers, Kerry Preston and Rosalind (?), provided that we had a strong new
                  Director of Research. Potential savings of $25,000 per year.

                  Cancel Singapore Hire
                  We are currently recruiting for a junior reporter in Singapore. If we eliminate this position
                  we would save $20,000-$40,000. This would create strains for that bureau and reduce
                  Sam's ability to expand his EIR role.

                  Cut Stringers
                  We could drop our few secondary stringers in Africa and Latin America for savings of
                  $25,000 or so per year. This would impact quality.

                  Churn
                  As we lose editorial staff through nom,al turnover we would replace them with reporters
                  that are significantly lower quality and lower cost. Potential savings of $20,000 in 2005.

                  Second Tier

                  Pike-Merom
                  If we were to combine OD and IOD, we could eliminate one of the editors for a savings of
                  $80,000-$120,000. A few other staff positions would also go. Of course, we would also
                  need to make estimates of the subscription impact.



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                    Kemp-Collin
                    If we were to combine PIW and EC we would also eliminate the need for an editor with
                    savings of $100,000. other staff savings would be possible but we would also need to
                    examine the full business impact more closely.

                    Sharif Ghalib
                    He remains a problem for EIR. Potential savings of $45,000 but severance and legal
                    issues exist. May want to replace with junior EIR staff with no savings. Cost savings
                    unlikely until 2006.

                    Cristina Haus
                    Savings of her salary, $70,000, if we sell the publication.

                   Axel Busch
                   Axel is 63 and has told Mike Ritchie that he wants to keep working. However, he might be
                   amenable to reducing his hours to 3-4 days per week. Annual savings of $15,000-
                   $30,000.

                   Barbara Shook
                   Like Axel Barbara may be amenable to reducing her hours by one day per week. Savings
                   of $13,000.

                   Sarah Miller
                   We could reduce her hours or her salary sllghtly but would risk losing or significantly
                   alienating a very productive editor. Cost savings $15,000-$30,000.

               •   Business Staff
                   Our options are more limited in this area because we are already thinly staffed and we
                   are facing turnover of Olivier Merz, Alan Eixman and Kimber1ey Music. We may be able
                   to achieve a small amount of cost savings in replacing these people but we also need
                   help with list management and marketing administration. It is hard to find areas to trim.
                   Again I have designated the cuts as first tier and second tier.

                   First Tier
                   The only thing we can do here relatively easily is replace Kat Martin with a less expensive
                   production editor in Septem ber. I have already got this in place and the savings is about
                   $30,000.

                   Second Tier
                   David Babski would like to go to a four day per week schedule and at some point to a
                   three dat per week schedule. This could save us $20,000-$40,000 but the operational
                   impact would be huge as he has no replacement. This probably could be considered in
                   2006. the other area of cost saving sis with Piers, Bill or another sale representative that
                   does not work out. However, with our new products coming out we might be reluctant to
                   cut our sales capabilities.

               •   other Operations
                   We could probably find further savings of $40,000-$50,000 on an annual basis by
                   clamping down harder on travel, office, phone, printing and other items.




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            Cost Saving Summary

                              First Tier   Second Tier    Total
            Office                     0      $350,000      $350 000
            Editorial Staff   $175,000        $375,000      $550,000
            Business Staff     $30,000         $30,000       $60 000
            Other              $45,000               0   $45,000
            Total             $250,000       $755,000 $1,005,000


            Conclusions

            As we would expect, we have more scope for improving profitability on the revenue side than the
            cost side. Furthermore, some of the cost savings outlined here are not only difficult to achieve
            and potentially damaging to the product line and quality of what we produce, they also may entail
            costs that have not been fully accounted for.

            If we can achieve our revenue increases as described here we can more or less hit our improved
            profitability objectives. However, given the uncertainties of our business performance and the
            desire to make sure that we hit the targets without fail, it seems prudent to carefully select among
            the cost savings and probably refine and modify them a bit further in order to achieve a 50%
            cushion of extra profitability.

            As a next step, we should review the revenue and cost projections and use this as a basis for a
            more refined plan that we would present to the board in late June or earty July.




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